           Case 1:17-cv-03625-AT Document 7 Filed 10/06/17 Page 1 of 3




                    I N UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORIGIA
                             ATLANTA DIVISION
                                                                    FILED IN CLERK'S OFFICE
                                                                        U.S.D.C,-Atlanta


CARLTON YOUNG                                                           OCT 0 6 2017
&                                                                 JAMES N. HATTEN. Clerk

                                                                  ^^'teW^puty              Clerk

K E A M B I M . YOUNG                                               ^     ^           ^
       Petitioner                               FEDERAL CASE NO:
                                                  17V-CV-3625 AT
VS.


GA/ATL PROPERTY MANAGEMENT LLC

       Respondent



                     MOTION TO RECONSIDER FINAL ORDER OF REMAND

    Comes now petitioner in the Above Style Action And Moves This Honorable

Court To Reconsider The Final Order Of A Man. This Motion Is Set For From The

Following Grounds;


            The final order addressing order and recommendation was entered prior

to a 28 U.S.C. 636 order and recommendation therefore the petitioner was not

given 14 days to respond to an order in recommendation as required pursuant to 28

USC 636.
          Case 1:17-cv-03625-AT Document 7 Filed 10/06/17 Page 2 of 3




Wherefore petitioner demands the following relief


This honorable Court Grant the motion for reconsideration allowing the petitioner

the 14 days to respond to order and recoinmendation as required pursuant to 28

USC 636




                                     Petitioner


                                      Pro se
           Case 1:17-cv-03625-AT Document 7 Filed 10/06/17 Page 3 of 3




                     I N UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORIGIA
                               ATLANTA DIVISION




                             C E R T I F I C A T E OF S E R V I C E


I certify that this pleading was served by US Mail of with adequate postage there upon

Appellee by mailing a true copy to the Attorney of record:

                                     This          Day of     ^/^2017




                                  Appellant
                                  Pro se
GaatI Property Mgmt Lie
(Plaintiff Pro S e )
6251 Smithpolnte Drive, Peachtree

Corners, GA 30092.
